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~ Petition Exhibit 2

Civil Investigative Demand to Fully
Accountable, LLC

(Sept. 10, 2018)

 

 

 
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UNITED STATES OF AMERICA
FEDERAL TRADE COMMISSION
WASHINGTON, D.C. 20580

 

Office of the Secretary SEP 1 i 2018
Via Federal

Rachel Scava

Chief Operating Officer and General Counsel
Fully Accountable, LLC

2680 West Market Street

Fairlawn, OH 44333

FTC Matter No. 1723195

Dear Ms. Scava;

The Federal Trade Commission (“FTC”) has issued the attached Civil Investigative
Demand (“CID”) asking for testimony as part of a non-public investigation. Our purpose is to
determine whether Fully Accountable, the Group A Entities, or the Group B Entities, each as
defined in the attached CID, and related entities and individuals, have made or participated in
making, in any respect, false, misleading, or unsubstantiated representations in connection with
the marketing of consumer products, in violation of Sections 5 and 12 of the Federal Trade
Commission Act (“FTC Act”), 15 U.S.C. §§ 45 and 52, or have engaged in deceptive or unfair
acts or practices by charging or participating in the charging, in any respect, for consumer
products without consumers’ authorization, in violation of Section 5 of the FTC Act, and
whether Commission action to obtain monetary relief would be in the public interest. Please read
the attached documents carefully. Here are a few important points we would like to highlight:

1. Contact FTC counsel, Harris Senturia (216-263-3420; hsenturia@ftc.gov) as
soon as possible to schedule an initial meeting to be held within 14 days. You can
meet in person or by phone to discuss any questions you have, including whether
there are changes to how you comply with the CID that would reduce your cost or
burden while still giving the FTC the information it needs. Please read the attached
documents for more information about that meeting.

2. You must continue to suspend any routine procedures for electronic or paper
document destruction, and you must preserve all paper or electronic documents
that are in any way relevant to this investigation, even if you believe the docurnents
are protected from discovery by privilege or some other reason.

3. The FTC will use information you provide in response to the CID for the
purpose of investigating violations of the laws the FTC enforces. We will not
disclose the information under the Freedom of Information Act, 5 U.S.C. § 552. We
may disclose the information in response to a valid request from Congress, or other
civil or criminal federal, state, local, or foreign law enforcement agencies for their
official law enforcement purposes. The FTC or other agencies may use and disclose

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your response in any federal, state, or foreign civil or criminal proceeding, or if
required to do so by law. However, we will not publicly disclose your information
without giving you prior notice.

4. Please read the attached documents closely. They contain important information
about where and when the company’s designee must appear to give testimony.

Please contact FTC counsel as soon as possible to set up an initial meeting. We
appreciate your cooperation.

Very truly yours,

Dovald § Cou la, 9g
Donald S. Clark
Secretary of the Commission

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CIVIL INVESTIGATIVE DEMAND

Oral Testimony

 

 

FULLY ACCOUNTABLE LLC
2680 WEST MARKET STREET
_ FAIRLAWN, OH 44333

2, FROM
UNITED STATES OF AMERICA
FEDERAL TRADE COMMISSION

 

Za, MATTER NUMBER 1723195

 

 

This demand is issued pursuant to Section 20 of the Federal Trade Commission Act, 15 U.S.C. § 57b-1, in the
course of an investigation to determine whether there is, has been, or may be a violation of any laws administered
by the Federat Trade Commission by conduct, activities or proposed action as described in Item 6.

 

3. LOCATION OF HEARING

1111 Superior Avenue,
Suite 200,
Cleveland, OH 44114

4. YOUR APPEARANCE WILL BE BEFORE

Harris A. Senturia, or other duly designated person

 

 

 

5. DATE AND TIME OF HEARING
October 12, 2018 at 8:30AM

 

6. SUBJECT OF INVESTIGATION

See attached Subject of investigation and Schedule and attached resolutions.

 

7. RECORDS CUSTODIAN/DEPUTY CUSTODIAN

Samuel Baker/Jon Steiger, Federal Trade Commission,
1111 Superior Avenue, Suite 200,

Cleveland, OH 44114

(216) 263-3414/(216) 263-3442

 

8, COMMISSION COUNSEL

Harris A. Senturia, Federal Trade Commission,
1111 Superior Avenue, Suite 200,

Cleveland, OH 44114

(216) 263-3420

 

DATE ISSUED

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COMMISSIONER'S SIGNATURE

ehh Oopn—

 

INSTRUCTIONS AND NOTICES
The delivery of this demand to you by any method prescribed by the
Commission's Rules of Practice Is legal service and may subject you to a
penalty imposed by law for failure to comply. This demand does not
require approval by OMB under the Paperwork Reduction Act of 1980.

PETITION TO LIMIT OR QUASH

The Commission's Rules of Practice require that any petition to jimit or
quash this demand be filed within 20 days after service, or, If the return
date is less than 20 days after service, prior to the return date. The original
and twelve copies of the petition must be filed with the Secretary of the
Federal Trade Commission, and one copy should be sent to the
Commission Counsel named In Item 8.

YOUR RIGHTS TO REGULATORY ENFORCEMENT
FAIRNESS

The FTC has a longstanding commitment to a fair reguiatory enforcement
environment. If you are a small business {under Smalt Business
Administration standards), you have a right to contact the Small Business
Administration's National Ombudsman at 1-886-REGFAIR
(1-888-734-3247) or www.sba.gowombudsman regarding the faimess of
ihe compliance and enforcement activities of the agency. You should
understand, however, that the National Ombudsman cannot change, stop,
or delay a federal agency enforcement action.

The FTC strictly forbids retallatory acts by ils employees, and you will not
be penallzed for expressing a concern about these activities.

 

TRAVEL EXPENSES
Use the enclosed fravel voucher to claim compensation to which you are entitled as a witness for the Commission. The completed travel voucher and this
demand should be presented to Commission Counsel for payment. if you are permanently or temporarily fiving somewhere other than the address on this
demand and it would require excessive travel for you to appear, you must get prior approval from Commission Counsel.

A copy of the Commission's Rules of Practice is available online at http:/bit lyETCsRulesofPractice. Paper copies are available upon request.

FTG Form 141 (rev. 11/17)

FTC Petition Exhibit 2

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Form of Certificate of Compliance*

 

I/We do certify that all of the information required by the attached Civil Investigative Demand which is .

in the possession, custody, control, or knowledge of the person to whom the demand is directed has been
submitted to a custodian named herein.

If an interrogatory or a portion of the request has not been fully answered or portion of the report has
not been completed the objection to such interrogatory or uncompleted portion and the reasons for the
objection have been stated.

Signature

 

Title

Sworn to before me this day

 

 

Notary Public

 

“In the event that more than one person is responsible for answering the interrogatories or prepating the report, the certificate
shall identify the interrogatories or portion of the report for which each certifying individual was responsible. In place of a sworn

statement, the above certificate of compliance may be supported by an unsworn declaration as provided for by 26 U.S.C. § 1746.

 

FTC Form 141-back (rev 11/17)

FTC Petition Exhibit 2
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FEDERAL TRADE COMMISSION (“FTC”)
CIVIL INVESTIGATIVE DEMAND (“CID”) SCHEDULE
FTC File No. 1723195

Meet and Confer: You must contact FTC counsel, Harris Senturia (216-263-3420;
hsenturia@fte.gov), as soon as possible to schedule a meeting (telephonic or in person) to be
held within fourteen (14) days after you receive this CID. At the meeting, you must discuss with
FTC counsel any questions you have regarding this CID or any possible CID modifications that
could reduce your cost, burden, or response time yet still provide the FTC with the information it
needs to pursue its investigation. The meeting also will address how to assert any claims of
protected status (e.g., privilege, work-product, etc.) and the production of electronically stored
information.

Document Retention: You must continue to retain all documentary materials used in preparing”
responses to this CID. The FTC may require the submission of additional documents later
during this investigation. Accordingly, you must continue to suspend any routine
procedures for document destruction and take other measures to prevent the destruction of
documents that are in any way relevant to this investigation, even if you believe those

documents are protected from discovery. See 15 U.S.C. § 50, see also 18 U.S.C. §§ 1505, 1519.

Sharing of Information: The FTC will use information you provide in response to the CID for
the purpose of investigating violations of the laws the FTC enforces. We will not disclose such
information under the Freedom of Information Act, 5 U.S.C. § 552. We also will not disclose
such information, except as allowed under the FTC Act (15 U.S.C. § 57b-2), the Commission’s
Rules of Practice (16 C.F.R. §§ 4.10 & 4.11), or if required by a legal obligation. Under the FTC
Act, we may provide your information in response to a request from Congress or a proper
request from another law enforcement agency. However, we will not publicly disclose such
information without giving you prior notice.

Certification of Compliance: You or any person with knowledge of the facts and
circumstances relating to the responses to this CID must certify that such responses are complete
by completing the “Form of Certificate of Compliance” set forth on the back of the CID form or
by signing a declaration under penalty of perjury pursuant to 28 U.S.C. § 1746.

Definitions and Instructions: Please review carefully the Definitions and Instructions that
appear after the Specifications and provide important information regarding compliance with this
CID.

SUBJECT OF INVESTIGATION

Whether Fully Accountable, the Group A Entities, or the Group B Entities, each as defined
herein, and related entities and individuals, have made or participated in making, in any respect,
false, misleading, or unsubstantiated representations in connection with the marketing of
consumer products, in violation of Sections 5 and 12 of the Federal Trade Commission Act
(“FTC Act”), 15 U.S.C. §§ 45 and 52, or have engaged in deceptive or unfair acts or practices by
charging or participating in the charging, in any respect, for consumer products without

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consumers’ authorization, in violation of Section 5 of the FTC Act, and whether Commission
action to obtain monetary relief would be in the public interest. See also attached resolutions.

SPECIFICATIONS

Applicable Time Period: Unless otherwise directed, the applicable time period for the requests
set forth below i is from July 1, 2014, until the date of full and complete compliance with this

CID.

A. Investigational Hearing Testimony: The Company must designate and make available
one or more officers, directors, or managing agents, or others who consent, to testify on its
behalf. Unless a single individual is designated, the Company must designate in advance and in
writing the matters on which each designee will testify. The person(s) designated must testify
about information known or reasonably available to the Company, and their testimony shall be
binding upon it. 16 C.F.R. § 2.7(h). The person(s) designated must be prepared to provide
testimony relating to the following topics:

L. All of the Company’s responses to the Interrogatories set forth in the CID issued
September 21, 2017.

2. All documents produced by the Company in response to the CID issued
September 21, 2017.

3. All efforts made by the Company to locate information responsive to the CID
issued September 21, 2017, including the identities of all individuals involved in
those efforts.

4, All efforts made by the Company to prevent the destruction of documents that are
in any way relevant to the investigation, as instructed in the CID issued
September 21, 2017.

5. The Company’s information or records management systems, systems for

electronically stored information, and any other issues relevant to compliance
with the CID issued September 21, 2017.

6. All relationships between the Company and Elevated Health, LLC.

7. All relationships between the Company and Sarah Scava.

DEFINITIONS

The following definitions apply to this CID:

D-1. “Company,” “You,” “Your,” or “Fully Accountable” means Fully Accountable, LLC,
its wholly or partially owned subsidiaries, unincorporated divisions, joint ventures, operations
under assumed names, and affiliates, and all directors, officers, members, employees, agents,

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consultants, and other persons working for or on behalf of the foregoing, including, but not
limited to, Christopher Giorgio and Rachel Scava.

D-2. “Document” means the complete original, al! drafts, and any non-identical copy, whether
different from the original because of notations on the copy, different metadata, or otherwise, of
any item covered by15 U.S.C. § 57b-1(a)(5), 16 C.F.R. § 2.7(a)(2), and Federal Rule of Civil
Procedure 34(a}(1){A).

D-3. “Group A Entity(ies)” shall mean any or all of the following: Innovated Health LLC,
Global Community Innovations LLC, Premium Health Supplies, LLC, Buddha My Bread
LLC, Innovated Fulfillment LLC, Vista Media LLC, Emerging Nutrition Inc., ShipSmart |
LLC, Guerra Company LLC, ASH Abbas LLC, and Your Healthy Lifestyle LLC, their
wholly or partially owned subsidiaries, unincorporated divisions, joint ventures, operations under
assumed names, successors, and affiliates, and all directors, officers, members, employees,
agents, consultants, and other persons working for or on behalf of the foregoing, including, but
not limited to, Fred Guerra, Lanty Gray, Rafat Abbas, Ashraf Abbas, Robby Salaheddine, and
Rachel Scava.

D-4. “Group B Entity(ies)” shall mean any or all of the following: Leading Health
Supplements, LLC (also dba Health Supplements), AMLK Holdings, LLC, General Health
Supplies, LLC, Natural Health Supplies, LLC, BHCO Holdings, LLC, and Consumer’s
Choice Health, LLC, their wholly or partially owned subsidiaries, unincorporated divisions,
joint ventures, operations under assumed names, successors, and affiliates, and all directors,
officers, members, employees, agents, consultants, and other persons working for or on behalf of

the foregoing.
INSTRUCTIONS

I-1. Petitions to Limit or Quash: You must file any petition to limit or quash this CID with
the Secretary of the FTC no later than twenty (20) days after service of the CID, or, if the return
date is less than twenty (20) days after service, prior to the return date. Such petition must set
forth all assertions of protected status or other factual and legal objections to the CID and comply
with the requirements sét forth in 16 C.F.R. § 2.10(a)(1) — (2). The FTC will not consider
petitions to quash or limit if you have not previously met and conferred with FTC staff
and, absent extraordinary circumstances, will consider only issues raised during the meet
and confer process. 16 C.F.R. § 2.7(k); see also § 2.11(b). If you file a petition to limit or
quash, you must still timely respond to all requests that you do not seek to modify or set
aside in your petition. 15 U.S.C. § 57b-1(f); 16 C.F.R. § 2.10(b).

1-2. Withholding Requested Material / Privilege Claims: If you withhold from production
any material responsive to this CID based on a claim of privilege, work product protection,
statutory exemption, or any similar claim, you must assert the claim no later than the return date
of this CID, and you must submit a detailed log, in a searchable electronic format, of the items
withheld that identifies the basis for withholding the material and meets ail the requirements set
forth in 16 C.F.R. § 2.11(a)— (c). The information in the log must be of sufficient detail to
enable FTC staff to assess the validity of the claim for each document, including attachments,
without disclosing the protected information. If only some portion of any responsive material is

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privileged, you must submit all non-privileged portions of the material. Otherwise, produce all
responsive information and material without redaction, 16 C.F.R. § 2.11(c). The failure to
provide information sufficient to support a claim of protected status may result in denial of the
claim. 16 C.F.R. § 2.1 i(a}c1).

I-3. Modification of Specifications: The Bureau Director, a Deputy Bureau Director,
Associate Director, Regional Director, or Assistant Regional Director must agree in writing to
any modifications of this CID. 16 C.F.R. § 2.7(1).

I-4. Scope of Search: This CID covers documents and information in your possession of
under your actual or constructive custody or control, including documents and information in the
possession, custody, or control of your attorneys, accountants, directors, officers, employees,
service providers, and other agents and consultants, whether or not such documents or
information were received from or disseminated to any person or entity.

1-5. Sensitive Personally Identifiable Information (“Sensitive PII”) or Sensitive Health
Information (“SHI”): If any materials responsive to this CID contain Sensitive PII or SHI,
please contact FTC counsel before producing those materials to discuss whether there are steps
you can take to minimize the amount of Sensitive PH or SHI you produce, and how to securely
transmit such information to the FTC.

‘Sensitive PII includes an individual’s Social Security number; an individual’s biometric
data (such as fingerprints or retina scans, but not photographs); and an individual’s name,
address, or phone number in combination with one or more of the following: date of birth,
Social Security number, driver’s license or state identification number (or foreign country
equivalent), passport number, financial account number, credit card number, or debit card
number. SHI includes medical records and other individually identifiable health information
relating to the past, present, or future physical or mental health or conditions of an individual, the
provision of health care to an individual, or the past, present, or future payment for the provision
of health care to an individual.

I-6. Oral Testimony Procedures: The taking of oral testimony pursuant to this CID will be
conducted in conformity with Section 20 of the Federal Trade Commission Act, 15 U.S.C. §
57b-1, and with Part 2A of the FTC’s Rules, 16 C.F.R. §§ 2.7(f), 2.7(h), and 2.9.

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UNITED STATES OF AMERICA
FEDERAL TRADE COMMISSION

COMMISSIONERS: Jon Leibowitz, Chairman _
Pamela Jones Harbour

William E. Kovacic
J. Thomas Rosch

RESOLUTION DIRECTING USE OF COMPULSORY PROCESS IN A NONPUBLIC
INVESTIGATION OF UNNAMED PERSONS ENGAGED DIRECTLY OR
INDIRECTLY IN THE ADVERTISING OR MARKETING OF DIETARY
SUPPLEMENTS, FOODS, DRUGS, DEVICES, OR ANY OTHER PRODUCT OR
‘SERVICE INTENDED TO PROVIDE A HEALTH BENEFIT OR TO AFFECT THE

STRUCTURE OR FUNCTION OF THE BODY

File No. 0023191

Nature and Scope of Investigation:

To investigate whether unnamed persons, partnerships, or corporations, or others
engaged directly or indirectly in the advertising or marketing of dietary supplements, foods,
drugs, devices, or any other product or service intended to provide a health benefit or to affect
the structure or function of the body have misrepresented or are misrepresenting the safety or
efficacy of such products or services, and therefore have engaged or are engaging in unfair or
deceptive acts or practices or in the making of false advertisements, in or affecting commerce, in
violation of Sections 5 and 12 of the Federal Trade Commission Act, 15 U.S.C. §§ 45 and 52.
The investigation is also to determine whether Commission action to obtain redress for injury to

consumers or others would be in the public interest.

The Federal Trade Commission hereby resolves and directs that any and all compulsory
processes availabie to it be used in connection with this investigation for a period not to exceed
ten (10) years from the date of issuance of this resolution. The éxpiration of this ten (10) year
period shal] not limit or terminate the investigation or the legal effect of any compulsory process
issued during the ten (10) year period. The Federal Trade Commission specifically authorizes
the filing or continuation of actions to enforce any such compulsory process after expiration of

the ten year period.
Authority to conduct investigation:

Sections 6, 9, 10, and 20 of the Federal Trade Commission Act, 15 U.S.C. §§ 46, 49, 50,
and 57b-1, as amended; FTC Procedures and Rules of Practice, 16 C.F.R. § I.1 et seg. and

supplements thereto.

By direction of the Commission. Ol! f ( iy f

Donald 8. Clark
. Secretary
Issued: August 13, Z609

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UNITED STATES OF AMERICA
BEFORE THE FEDERAL TRADE COMMISSION

COMMISSIONERS: Edith Ramirez, Chairwoman
Maureen K. Oblhausen
Terrell McSweeny

RESOLUTION DIRECTING USE OF COMPULSORY PROCESS LN NON-PUBLIC
INVESTIGATION OF UNNAMED PERSONS, PARTNERSHIPS OR CORPORATIONS
ENGAGED JN THE DECEPTIVE OR UNFAIR USE OF E-MAIL, METATAGS,
COMPUTER CODE OR PROGRAMS, OR DECEPTIVE OR. UNFAIR PRACTICES
INVOLVING INTERNET-RELATED GOODS OR SERVICES

File No. 9923259

Nature and Scope of Investigation:

To determine whether ynnamed persons, partnerships or corporations have been or are
engaged in the deceptive or unfair use of email, metatags. compuler code or programs, or

deceptive or unfair practices involving Internet-related goods or services, in violation. of Sections
Ser 12 of the Federal Trade Commission Act, 15 U.S.C, $8 45, 52. as amended. ‘fhe

investiration is also to determine whether Commission action to obtain equitable monetary relief

for injury ty consumers or others would be in-the public interest.

The Federal Trade Commission hereby resolves and directs that any and all compulsory
processes available 16 it be used tn corinection with this investigation for a period not lo exceed
five years from the date of issuance of this resolution, The expiration of this five-year period
shall not limit or terminate the investigation oy the legal effeet of any ecrapulsory process issued
during the five-year period, The Federal Trade Commission specifically authorizes the filing or
continuation of'actions to enforce any such compulsory process after the expiration of the five-
year period:

Authority to Conduct Investigation:

Seations 6. 9, 10,and 20 of the Federal Trade Commission Act, 15 (8.0, &§ 46, 49, 40,
and 57b-1,as amended; TC Procedures and Rules of Practice. 16 CFR, Part 1.1 et se ei seq. 8 and
supplements thereto,

By direction of the Commission. / “\ au) L.
Ld ifé A. mmm

Donald 8, Clark
’ Secretary
Tssucd: August 1, 2016

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UNITED STATES OF AMERICA
BEFORE THE FEDERAL TRADE COMMISSION

COMMISSIONERS: Edith Ramirez, Chairwoman
Julie Brill
Maureen K. Ohlhausen
Joshua D. Wright

RESOLUTION DIRECTING USE OF COMPULSORY PROCESS IN A NON-PUBLIC
INVESTIGATION OF UNAUTHORIZED CHARGES TO CONSUMERS’ ACCOUNTS

File No. 082-3247
Nature and Scope of Investigation:

To determine whether unnamed persons, partnerships, corporations, or others have
engaged in or are engaging in deceptive or unfair acts or practices in or affecting commerce, in
connection with making unauthorized charges or debits to consumers’ accounts, including
unauthorized charges or debits to credit card accounts, bank accounts, investment accounts, or
any other accounts used by consumers to pay for goods and services, in violation of Section 5 of
the Federal Trade Commission Act, 15 U.S.C. § 45, and/or the Electronic Fund Transfer Act, 15
U.S.C. § 1693, et seg. The investigation is also to determine whether Commission action to
obtain monetary relief, including consumer redress, disgorgement, or civil penalties, would be in
the public interest.

The Federal Trade Commission hereby resolves and directs that any and all compulsory
processes available to it be used in connection with this investigation for a period not to exceed
five (5) years from the date of issuance of this resolution. The expiration of this five-year period
shall not limit or terminate the investigation or the legal effect of any compulsory process issued
during the five-year period. The Federal Trade Commission specifically authorizes the filing or
continuation of actions to enforce any such compulsory process after the expiration of the five-
year period,

Authority to Conduct Investigation:

Sections 6, 9, 10, and 20 of the Federal Trade Commission Act, 15 U.S.C. §§ 46, 49, 50,
and 57b-1, FTC Procedures and Rules of Practice, 16 C.F.R. § 1.1 ef seq., and supplements
thereto, Section 917(c) of the Electronic Fund Transfer Act, 15 U.S.C. § 16930(c), and
Regulation E, 12 C.F.R. § 205.1 ef seq., and supplements thereto.

By direction of the Commission. On) { Cp _—

Donald 8. Clark
Secretary

"Issued: September 20, 2013

FTC Petition Exhibit 2
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